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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )                 8:11CR43
                                            )
      vs.                                   )                 ORDER
                                            )
JUANITA HERRERA,                            )
                                            )
                Defendant.                  )
__________________________________
UNITED STATES OF AMERICA,          )
                                   )
                Plaintiff,         )                          8:11CR76
                                   )
     vs.                           )                          ORDER
                                   )
PIMENIO VELA HERRERA,              )
                                   )
                Defendant.         )


      This matter is before the court on the government’s motions for a joint trial (Filing
No. 135 in 8:11CR43; and Filing No. 37 in 8:11CR76) and the government’s motions to
continue trial (Filing No. 134, as amended by Filing No. 139, in 8:11CR43; and Filing No.
36, as amended by Filing No. 39, in 8:11CR76). The court held a conference with counsel
on August 24, 2011. Assistant U.S. Attorney Justin C. Dawson appeared for the United
States, Beau G. Finley appeared for the defendant Pimenio Vela Herrera, and Donald L.
Schense appeared by telephone for the defendant Juanita Herrera. At the requests of
defense counsel, both defendants were excused from attending the conference.


                                 Motions for Joint Trial
      The government seeks to try both defendants in a single trial pursuant to Fed. R.
Crim. P. 13 which provides as follows:
             The court may order that separate cases be tried together as
             though brought in a single indictment or information if all
             offenses and all defendants could have been joined in a single
             indictment or information.
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      Both defendants object to the joinder of their Indictments for trial.
      Juanita Herrera is charged in her Indictment as follows:
                                           COUNT I
                     From on or about September, 2009, through on or about
             September 24, 2010, in the District of Nebraska, OSCAR
             HERRERA, JOHN CORSON, MIRANDA RUlZ, EVELINDA
             HINOJOSA, and JUANITA HERRERA, Defendants herein, did
             knowingly and intentionally combine, conspire, confederate
             and agree together and with other persons both known and
             unknown to the Grand Jury, to attempt to manufacture and
             manufacture a substance containing 5 grams or more of actual
             methamphetamine, a Schedule II controlled substance, in
             violation of Title 21, United States Code, Section 841(a)(1) and
             841(b)(1).
                     In violation of Title 21, United States Code, Section 846.

                                         COUNT II
                    From on or about September, 2009, through on or about
             September 24, 2010, in the District of Nebraska, OSCAR
             HERRERA, JOHN CORSON, MIRANDA RUIZ, EVELINDA
             HINOJOSA, and JUANITA HERRERA, Defendants herein,
             possessed Pseudoephedrine, a list I chemical, with the intent
             to manufacture actual methamphetamine, a Schedule II
             controlled substance.
                    In violation of Title 21, United States Code, Section
             841(c)(1), and in violation of Title 21, United States Code,
             Section 846.
See Filing No. 20 in 8:11CR43.
      Pimenio Vela Herrera is charged in his Indictment as follows:
                                           COUNT I
                     From on or about September, 2009, through on or about
             September 24, 2010, in the District of Nebraska, PIMENIO
             VELA HERRERA, a/k/a Manuel Herrera, Defendant herein,
             knowingly and intentionally combined, conspired, confederated
             and agreed together and with other persons both known and
             unknown to the Grand Jury, to commit the following offenses
             against the United States: attempt to manufacture and
             manufacture a substance containing 5 grams or more of actual
             methamphetamine, a Schedule II controlled substance, in
             violation of Title 21, United States Code, Section 841(a)(1) and
             841(b)(1).
                     In violation of Title 21, United States Code, Section 846.

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See Filing No. 1 in 8:11CR76.
       The government asserts both defendants are part of the same conspiracy to
manufacture methamphetamine and the cooperating defendants in 8:11CR43, i.e., Oscar
Herrera, John Corson, Miranda Ruiz, and Evalinda Hinojosa, are prepared to testify to that
effect during trial. Further, while Juanita Herrera has made statements implicating Pimenio
Vela Herrera, the government is prepared to redact the statements or eliminate them from
its proof at trial to avoid any undue prejudice. Juanita Herrera and Pimenio Vela Herrera
claim each will be prejudiced by a joint trial. Juanita Herrera claims the prejudice to her will
be by comparison of an alleged minor participant with that of an alleged more culpable
participant and instructions to the jury would not alleviate the undue prejudice. Pimenio
Vela Herrera claims evidence against Juanita Herrera, principally her statement to law
enforcement officers, would unduly prejudice him in a joint trial.
       The court finds the charges against each defendant could have been brought in a
single Indictment as they arise from an alleged single conspiracy and would have been
properly joined under Fed. R. Crim. P. 8(b). Furthermore, the court can properly instruct
the jury so as to have the jury consider each defendant’s guilt or innocence in the charges.
The court further finds the court can limit any statement made by Juanita Herrera either by
redaction or exclusion to avoid any difficulty with Bruton v. United States, 391 U.S. 123
(1968). Joinder being proper in this case, a joint trial of the same conspiracy is preferred.
United States v. Flores, 362 F.3d 1030, 1039 (8th Cir. 2004). The government’s motions
for a joint trial will be granted.


                                Motions for Trial Continuance
       The government seeks to continue the trial of each defendant (now individually set
for September 20, 2011) because of a prosecutor’s schedule conflict. Juanita Herrera
joined in the motion to continue. Pimenio Vela Herrera objected to the motion to continue.
The court finds the motion to continue should be granted and will schedule a joint trial
before Judge Laurie Smith Camp and a jury to commence on October 4, 2011. The court
further finds the time between September 20, 2011, and October 4, 2011, should be
excluded from computations under the Speedy Trial Act. Accordingly,

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       IT IS ORDERED:
       1.     The government’s motions for a joint trial (Filing No. 135 in 8:11CR43; and
Filing No. 37 in 8:11CR76) are granted.
       2.     The government’s motions to continue trial (Filing No. 134, as amended by
Filing No. 139, in 8:11CR43; and Filing No. 36, as amended by Filing No. 39, in 8:11CR76)
are granted and the joint trial of these cases shall commence before Judge Laurie Smith
Camp and a jury in Courtroom No. 2, Third Floor, Roman L. Hruska U.S. Courthouse, 111
South 18th Plaza, Omaha, Nebraska, on October 4, 2011, at the call of the court.
       3.     The ends of justice have been served by granting such motion to continue
and outweigh the interests of the public and the defendant in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between September 20,
2011, and October 4, 2011, shall be deemed excludable time in any computation of time
under the requirement of the Speedy Trial Act for the reason additional time is needed to
adequately prepare the case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


                                        ADMONITION
       Pursuant to NECrimR 59.2 any objection to this Order shall be filed with the Clerk
of the Court within fourteen (14) days after being served with a copy of this Order. Failure
to timely object may constitute a waiver of any such objection. The brief in support of any
objection shall be filed at the time of filing such objection. Failure to file a brief in support
of any objection may be deemed an abandonment of the objection.
       DATED this 25th day of August , 2011.


                                                    BY THE COURT:
                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge




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